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                                 IN THE UNITED STATES DISTRICT COURT
                                              DISTRICT OF UTAH



  UNITED STATES OF AMERICA,                                 Case No. 2:19CR00394-RJS-DBP
                                Plaintiff,                  ORDER OF FORFEITURE
               vs.
                                                            Judge Robert J. Shelby

  LEONID ISAAKOVICH TEYF,                                   Magistrate Judge Dustin B. Pead
                                Defendant.


              IT IS HEREBY ORDERED that:

              1.        As a result of the plea of guilty to Misprision of a Conspiracy to Commit Wire

 Fraud Felony (Count 1 of the Amended Felony Information) in violation of 18 U.S.C. § 4,

 pursuant to 18 U.S.C. § 981 and 28 U.S.C. § 2461(c), the defendant Leonid Isaakovich Teyf

 shall forfeit to the United States all property, acquired from or traceable to the offenses and all

 property that was used to facilitate the offenses.

              2.        Based on the Amended Felony Information and the Mr. Teyf’s Statement in

 Advance of Guilty Plea and Plea Agreement, the court finds that the amount of property involved

 in or obtained from the defendants Misprision of a Conspiracy to Commit Wire Fraud Felony

 offense includes the following:




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 Companies

             Any and all interest in A&Y Transportation Inc.
             Any and all interest in A&B Transportation Inc.
             Any and all interest in Costa Transportation, Inc.
             Any and all interest in Eugene Trucking Inc.
             Any and all interest in American Star Transport Inc.
             Any and all interest in Big Dogs Transport Inc.
             Any and all interest in Fusion Transport, Inc.
             Any and all interest in Falanga Transport Inc.
             Any and all interest in BTF Logistics, Inc.
             Any and all interest in Salt Lake Trucking Group, LLC
             Any and all interest in Salt Lake Diesel Repair Inc.
             Any and all interest in Salt Lake Driving Academy, Inc.
             Any and all interest in Salt Lake Commercial Properties, LLC, to include
              any and all past due rent payments possibly owed to me from SLCP and/or
              Jonathan "Kirk" Glancy and/or his associated trucking businesses that he
              has continued to operate out of 5745 West 300 South since October of 2019.

 Funds Seized from America First Credit Union

             $4,259.34 seized from 0421-3.1 in the name of A&B Transportation, Inc.
             $7,506.97 seized from 0421-3.9 in the name of A&B Transportation, Inc.
             $803.80 seized from 7165-9.1 in the name of A&Y Transportation, Inc.
             $7,607.20 seized from 7165-9.9 in the name of A&Y Transportation, Inc.
             $2,556.02 seized from 8112-1.1 in the name of American Star Transport, Inc.
             $7,211.45 seized from 8112-1.9 in the name of American Star Transport, Inc.
             $2,305.88 seized from 7748-9.1 in the name of Costa Transportation, Inc.
             $14,291.38 seized from 7748-9.9 in the name of Costa Transportation, Inc.
             $671.71 seized from 8126-1.1 in the name of Eugene Trucking, Inc.
             $2,843.47 seized from 8126-1.9 in the name of Eugene Trucking, Inc.
             $4,520.96 seized from 8125-3.1 in the name of Falanga Transport, Inc.
             $8,981.81 seized from 8125-3.9 in the name of Falanga Transport, Inc.
             $64,165.93 seized from 3320.9 in the name of Salt Lake Diesel Repair
             $54,164.94 seized from 6920.9 in the name of Salt Lake Driving Academy
             $294,379.15 seized from 2231.9 in the name of Salt Lake Trucking Group
             $1,769.62 seized from 5371-8.9 in the name of Big Dogs Transport, Inc.
             $7,849.46 seized from 5371-8.1 in the name of Big Dogs Transport, Inc.
             $9,168.85 seized from 6625-6.9 in the name of Fusion Transport, Inc.
             $7,588.29 seized from 6625-6.1 in the name of Fusion Transport, Inc.
             $54,164.94 seized from 6625-6.1 in the name of Salt Lake Driving Academy, Inc.

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 Proceeds from Sale of Vehicle

             $12,226.00 representing proceeds from the sale of a 2016 BMW/R1200 GS Adventure,
              VIN: WB10A1205GZ666693, registered in the name of A&B Transportation

 Funds Seized from America First Credit Union

             $233,425.41 in funds from AFCU Bank Account #3187077-7.9 in the name of
              Leonid Teyf.
 Property Interest

             Any and all interests I may have in our former business location previously identified as
              the Salt Lake Trucking Group building located at 5743 West 300 South, Salt Lake City,
              Utah.
 . Promissory Notes

             The United States agrees to release any claims it may have to two promissory notes
              between the defendant and Salt Lake Commercial Properties in the amounts of
              $1,000,000.00 and $900,000.00.
              3.        The Court has determined, based on the guilty plea, that: the above-identified

 property is subject to forfeiture, the defendant had an interest in the property, and the

 government has established the requisite nexus between such property and such offense;

              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

              4.        Pursuant to 18 U.S.C. § 981 and 28 U.S.C. § 2461(c), and Rule 32.2(b)(1),

 Federal Rules of Criminal Procedure, the above identified property is hereby forfeited to the

 United States.

              5.        Upon the entry of this Order, in accordance with Fed. R. Crim. P. 32.2(b)(3), the

 Attorney General (or a designee) is authorized to seize the properties and conduct any discovery

 proper in identifying, locating, or disposing of the property subject to forfeiture.




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              6.        Upon entry of this Order, in accordance with Fed. R. Crim. P. 32.2(b)(3), the

 United States may conduct any discovery necessary to identifying, locating, or disposing of any

 property of the defendant’s that could be used to satisfy the judgment.

              7.        Upon entry of this Order the Attorney General or its designee is authorized to

 commence any applicable proceeding to comply with statutes governing third party interests,

 including giving notice of this Order.

              8.        The United States shall publish notice of this Order on the Government’s internet

 website, www.forfeiture.gov. The United States may also, to the extent practicable, provide

 written notice to any person known to have an alleged interest in the subject property.

              9.        Any person, other than the above-named defendant, asserting a legal interest in

 the subject property may, within thirty days of the final publication of notice or receipt of notice,

 whichever is earlier, petition the Court for a hearing without a jury to adjudicate the validity of

 his alleged interest in the subject property, and amendment of the order of forfeiture pursuant to

 21 U.S.C. § 853.

              10.       Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Order of Forfeiture shall become

 final as to the defendant at the time of sentencing and shall be made part of the sentence and

 included in the judgment. If no third-party files a timely claim, this Order shall become the Final

 Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

              11.       Any petition filed by a third party asserting an interest in the subject property

 shall be signed by the petitioner under penalty of perjury and shall set forth the nature and extent

 of the petitioner’s right, title, or interest in the subject property, the time, and circumstances of

 the petitioner’s acquisition of the right, title, or interest in the property, any additional facts

 supporting the petitioner’s claims, and the relief sought.
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              12.       After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A),

 and before a hearing on the petition, discovery may be conducted in accordance with the Federal

 Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve

 factual issues.

              13.       The United States shall have clear title to the subject property following the

 Court’s disposition of all third-party interests, or, if no petitions are filed, following the

 expiration of the period provided in 21 U.S.C. § 853 which is incorporated by 18 U.S.C. §

 982(b), for the filing of third-party petitions.

              14.       The Court shall retain jurisdiction to enforce this Order, and to amend it as

 necessary, pursuant to Fed. R. Crim. P. 32.2(e).

              Dated this 23 day of September, 2022.

                                                      BY THE COURT:



                                                      ___________________________
                                                      ROBERT J. SHELBY
                                                      United States District Court Judge




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